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{QD> City of Rochester
John M. Campo|leto

W Department of Law Municipal Attorney

@ City Hall Room 400A. 30 Church Street
Rochester, New York 14614-1295
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November 2, 2018

VlA FACSC|M|LE

Hon. Michael A. Telesca
U.S. District Court Judge
2720 U.S. Courthouee

100 State Street, Room 272
Rochester, New York 14614

Re: Simmons v. City of Rochester, et al.
Case No.: 17-cv-6176

Dear Judge Telesca:

The City conducted a second 50-h hearing on October 25, 2018. l write with the
consent of Plaintiff's counsel to request, for the final time, that the Defendants’ time to
answer`or move in this matter be set for November 16, 2018_
ln the interest of efFrciency, the parties ask that the Defendants’ answering time be
extended to November 16, 2018. A "so ordered" line is included below. Thank you for
your consideration
Respectfu|ly submitted,

/s/ John M. Campolieto
John M. Campolieto
Municipal Attorney

Xc: Charles Burkwit, Esq. (sent via electronic mail)

SO ORDERED:

 

//7/<»¢; nated: //; >/ ,2013

Hon. Michael A. Te|esca
United States District Court Judge

 

 

